                        Case 2:18-cv-00348-TJS Document 6 Filed 02/01/18 Page 1 of 1



                                           IN THE UNITED STATES DISTRICT COURT

                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA




Oarus Leon Hunter et. al. (plaintiff)

                                                                                                              Cavil Action No. 18 0348

v.



City of Philadelphia (defendant)



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           I verify that the statements in this document are true and correct to the best of my knowledge,

information and belief. I understand that the statements made herein are subject to the penalties

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